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Mallqui, Diana J.

From:                                    Gail Milon <gail@ccwealthadvisors.com>
Sent:                                    Monday, February 10, 2020 5:19 PM
To:                                      Cohn, Aaron M.
Cc:                                      James Sallah; Joshua Katz; Scott Silver; Ryan Schwamm; John Paul Leonard; Alfred R.
                                         Brunetti
Subject:                                 Re: Jasminka Document Discovery


This Message originated outside your organization.

Attorney John Leonard called you last week. You have not returned his call. I'm asking you to please do so.


Best Regards,


Gail Milon
Manager Vice President
Cambridge Capital Group
Email: gail@ccwealthadvisors.com


Nevada office:
59 Damonte Ranch Parkway
Suite B
Reno, Nevada 89521

Tallahassee office:
1400 Village Square Boulevard
Suite 3-268
Tallahassee, Florida 32312


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this communication by anyone other than the intended recipient(s) is strictly prohibited. If you are not the intended recipient, please notify the
sender by replying to this message and delete it from your system.




On Wed, Feb 5, 2020 at 8:03 PM Cohn, Aaron M. <ACohn@wwhgd.com> wrote:
 Gail,

 You can not unilaterally withhold documents. There is no privilege that applies to that settlement, or related
 correspondence to the Jacksonville project, or anything else that I know of other than direct communications
 with your attorney. Also, I have no privilege log with which to use to assess whatever documents you think
 you can unilaterally withhold. I will be filing for sanctions. I have tried to be patient but this is not acceptable.

 Regards,

 Aaron

 On Feb 5, 2020, at 7:54 PM, Gail Milon <gail@ccwealthadvisors.com> wrote:
                                                                        1
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This Message originated outside your organization.
________________________________
Mr. Cohn,

Who was the “someone else” managing Cambridge Capital Group and/or CCGA and/or CCA and subsidiaries
at that time? There are no documents responsive to that issue in your production. And would that person have a
complete set of records?

The Cambridge Capital Group Advisors Membership Agreement, included in the shared dropbox folder 09 -
By Law - Operating Agreement, documents the owners and managers of CCGA and CCA were Addys Walker
and Jeff Kahn. That was a responsive document submitted to your inquiry. I do not know if these parties have
any other documentation to satisfy your inquiry, nor do I know the current whereabouts of these individuals.

With respect to the Bank of America records, you only copied the odd pages in part of the production, so we
cannot see what happened to all of the funds after they entered CCA’s account. Please resend those.

The CCA July 2-17 Thru April 2018.pdf bank records have been re-scanned now on both sides.

In addition, the Jacksonville project settlement agreement with Bob Odhe, and related payment
correspondence, is not included in your production, among many many other documents. I happen to know
that you were present for that mediation process and the settlement, and signed the agreement on behalf of
CCG. I need all documents in your possession that are responsive, and it is clear that I have not received that.
I’d like to discuss further but it is clear that this process, or consequences, are not being taken seriously. Let me
know if you want to discuss and/or will be producing more documents.

The 500 East Bay Settlement Agreement is a private mediation document. You are required to obtain a court
order to secure such a document. I do not have the authority to release such a document.

At this time, I do not have an attorney representing me on this particular discovery matter. As you are aware, I
have already resolved all issues with Mrs. Illich, and I am honoring all terms of that agreement. To the best of
my knowledge, you have received all the documents that I have that are applicable to this matter

Best Regards,


Gail Milon

Manager Vice President
Cambridge Capital Group
Email: gail@ccwealthadvisors.com<mailto:info@howardjustice.com>


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it from your system.


On Tue, Feb 4, 2020 at 9:06 PM Cohn, Aaron M. <ACohn@wwhgd.com<mailto:ACohn@wwhgd.com>>
wrote:
Gail,

Who was the “someone else” managing Cambridge Capital Group and/or CCGA and/or CCA and subsidiaries
at that time? There are no documents responsive to that issue in your production. And would that person have a
complete set of records?

With respect to the Bank of America records, you only copied the odd pages in part of the production, so we
cannot see what happened to all of the funds after they entered CCA’s account. Please resend those.

In addition, the Jacksonville project settlement agreement with Bob Odhe, and related payment
correspondence, is not included in your production, among many many other documents. I happen to know
that you were present for that mediation process and the settlement, and signed the agreement on behalf of
CCG. I need all documents in your possession that are responsive, and it is clear that I have not received that.
I’d like to discuss further but it is clear that this process, or consequences, are not being taken seriously. Let me
know if you want to discuss and/or will be producing more documents.

Regards,

Aaron

From: Gail Milon [mailto:gail@ccwealthadvisors.com<mailto:gail@ccwealthadvisors.com>]
Sent: Tuesday, February 04, 2020 7:12 PM
To: Cohn, Aaron M.
Cc: James Sallah; Joshua Katz; Scott Silver; Ryan Schwamm
Subject: Re: Jasminka Document Discovery

This Message originated outside your organization.
________________________________
Good Afternoon Mr. Cohn,

I did not provide you with MacOSX files. I provided you PDF files. I am able to open the PDF files on my
end. If you are still having trouble opening the files, please let me know. The use of Jasminka's funds can be
found on the bank statements which were sent to you. In reference to the Jacksonville project, Cambridge was
managed by someone else at that time. I provided you with the documents I have in my posession.

Best Regards,


Gail Milon
                                                         3
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Manager Vice President
Cambridge Capital Group
Email: gail@ccwealthadvisors.com<mailto:info@howardjustice.com>


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it from your system.


On Fri, Jan 31, 2020 at 4:20 PM Cohn, Aaron M. <ACohn@wwhgd.com<mailto:ACohn@wwhgd.com>>
wrote:

Gail,

None of the documents in the MacOSX file can be opened. In addition, there are numerous categories of
documents in your possession that were not produced. Please let me know when you or your counsel are
available to discuss early next week. Among other things, none of the documents related to the use of
Yasminka’s money are included, and none of the documents related to the Jacksonville project are included
(such as the settlement, communications about the failed closing, and others).

Regards,

Aaron




<image001.png>



Aaron M. Cohn, Attorney


Weinberg Wheeler Hudgins Gunn & Dial


2601 South Bayshore Drive | Suite 1500 | Miami, FL 33133
                                                        4
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D: 305.455.9133 | F: 305.455.9501


www.wwhgd.com<http://www.wwhgd.com> | vCard<http://www.wwhgd.com/vcard-178.vcf>



From: Gail Milon [mailto:gail@ccwealthadvisors.com<mailto:gail@ccwealthadvisors.com>]
Sent: Wednesday, January 29, 2020 11:31 PM
To: Cohn, Aaron M.
Cc: James Sallah; Joshua Katz
Subject: Jasminka Document Discovery


This Message originated outside your organization.
________________________________
Aaron,

Here is a Dropbox link to as many of the discovery documents as I could possibly locate for you.

DropBox Link:
https://www.dropbox.com/sh/pn3atpp8fnnoxtj/AADxwD8t7k0kXugkMJSdo8IOa?dl=0<https://www.dropbox.
com/sh/pn3atpp8fnnoxtj/AADxwD8t7k0kXugkMJSdo8IOa?dl=0>

I hope this is sufficient for your needs. If there is anything further I can do to assist please let me know.


Thank you,

Best Regards,


Gail Milon
Manager Vice President
Cambridge Capital Group
Email: gail@ccwealthadvisors.com<mailto:info@howardjustice.com>


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